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    ***LEGAL MAIL***

                                        Peggy Gill Foster
    USA v. re cc        ret,            Registered Professional Reporter
                                        3188 Lewisburg Highway
                                        Petersburg, TN 37144
    3 ( r -2o- 2
    IT/z, 40 3                          January 20, 2016        FILED
                                                                 U.S. DISTRICT COURT
                                                              MIDDLE DISTRICT OF TENN.
    Austin Michael Evans
    808 Lea Avenue                                                JAN 2 9 2016
    Nashville, TN 37203
                                                                 DEPUTY CLERK
    sear Mr. Evans,

    Your request to receive a copy of the transcript of your
    sentencing hearing of July 26, 2013 was referred to me. The
    transcript has not been ordered. The cost for original
    transcripts with a 30-day delivery turn-around time is $3.65 per
    page, and this hearing would be about 32 pages, for a total of
    approximately $116.80. If you are interested in ordering the
    transcript, please make a money order out to Peggy Foster and
    send it to the above address.

      regret that I cannot prepare a transcript unless payment
    arrangements have been made.

    If you have any further questions, please let me know. I will
    wait to hear from you.

                                         sincerely,


                                         Peggy Gill Foster




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